                                                           Case 3:21-cv-00656-JWD-RLB Document 1-2 11/10/21 Page 1 of 21                                                     Page 1
('J      Print Date: 11/8/2021                                                 EAST BATON ROUGE PARISH
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t-      Suit Number:   C-711842                                                           Date Filed:         09/30/2021
ill
                                                                                          Cause:              JR-Judicial Review
*       CARL CAVALIER
        vs                                                                                Division:           23
        STATE OF LOUISIANA: DEPARTMENT OF PUBLIC SAFETY AND
        CORRECTIONS, ET AL

        Parties
             CAVALIER, CARL
             STATE OF LOUISIANA: DEPARTMENT OF PUBLIC SAFETY
             AND CORRECTIONS
             LOUISIANA STATE POLICE COLONEL LAMAR A DAVIS



       Date            Code Description                    Payee Name I Deposit Details                 Attorney Name              Party Name       Balance Type   Deposit     Charge
       09/30/2021       8520 NUMBER OF NAMES INDEXED       DOUG WELBORN SALARY FUND                     N/A                        CAVALIER, CARL   Advance                     $8.00
                             [4 Qty]
       09/30/2021       1000 PET-CIV                       DOUG WELBORN SALARY FUND                     NIA                        CAVALIER, CARL   Advance                    $22.00
                             [5 Pg]
       09/30/2021       8500 INITIALIZATION FEE            DOUG WELBORN SALARY FUND                     N/A                        CAVALIER, CARL   Advance                    $20.00
       09/30/2021       8501 5% CLERKS FEE ACT NO. 1093    DOUG WELBORN SALARY FUND                     N/A                        CAVALIER, CARL   Advance                     $0.15
       09/30/2021       8503 PRO BONO EXPENSE CIVIL        BATON ROUGE BAR ASSOCIATION                  N/A                        CAVALIER, CARL   Advance                     $2.85
       09/30/2021       8504 BLDG FUND FEE NEW SUIT $200   DOUG WELBORN-19TH JDC BUILDING FL NIA                                   CAVALIER, CARL   Advance                   $200.00
       09/30/2021       8506 STATETREASURYCIVILJSC         LOUISIANA STATE TREASURER/CIVIL   N/A                                   CAVALIER, CARL   Advance                    $27.00
       09/30/2021       8512 SUPREME COURT JUDICIAL        LA SUPREME COURT-JUDICIAL COLLEGE NIA                                   CAVALIER, CARL   Advance                     $0.50
                             COLLEGE
       09/30/2021       8514 JUDICIAL EXPENSE FUND         JUDICIAL EXPENSE FUND                        N/A                        CAVALIER, CARL   Advance                    $15.00
       09/30/2021       8522 CONFORMED COPY                DOUG WELBORN SALARY FUND                     N/A                        CAVALIER, CARL   Advance                     $3.00
       09/30/2021       5001 VERIFICATION-CV               DOUG WELBORN SALARY FUND                     NIA                        CAVALIER, CARL   Advance                     $6.00
                             [1 Pg]
       09/30/2021       8531 BLDG FUND FEE EXISTING $10    DOUG WELBORN-19TH JDC BUILDING FL N/A                                   CAVALIER, CARL   Advance                    $10.00
       09/30/2021          1 ADVANCED DEPOSIT              CREDIT by CAVALIER, CARL                     N/A                        CAVALIER, CARL   Advance        $760.00
                             CAVALIER, CARL
E      09/30/2021       8527 BLDG FUND FEE JURY $200       DOUG WELBORN-19TH JDC BUILDING FL N/A                                   CAVALIER, CARL   Advance                   $200.00
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u.
       10/01/2021       2000 CIT-CIV                       DOUG WELBORN SALARY FUND                     N/A                        CAVALIER, CARL   Advance                    $20.00
       10/01/2021       8523 CERTIFIED COPY                DOUG WELBORN SALARY FUND                     NIA                        CAVALIER, CARL   Advance                     $5.00
                                                          Case 3:21-cv-00656-JWD-RLB Document 1-2 11/10/21 Page 2 of 21
 ('J       Print Date: 11/8/2021                                              EAST BATON ROUGE PARISH                                                    Page 2
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         Date         Code Description                    Payee Name I Deposit Details      Attorney Name      Party Name       Balance Type   Deposit     Charge
 *       1010112021    8531 BLDG FUND FEE EXISTING $10    DOUG WELBORN-19TH JDC BUILDING FL NIA                CAVALIER, CARL   Advance                    $10.00
 ti)     1010112021    8540 PAY EBR SHERIFF               EAST BATON ROUGE PARISH SHERIFFS NIA                 CAVALIER, CARL   Advance                    $30.00
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         10101/2021    8571 EBR SHERIFF SERVICE MILEAGE   EAST BATON ROUGE PARISH SHERIFFS NIA                 CAVALIER, CARL   Advance                    $10.40
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                            [806 Amt]
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('J      1010112021    2000 CIT-CIV                       DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                    $20.00
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         1010112021    8523 CERTIFIED COPY                DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                     $5.00
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         1010112021    8531 BLDG FUND FEE EXISTING $10    DOUG WELBORN-19TH JDC BUILDING Fl NIA                CAVALIER, CARL
ti)                                                                                                                             Advance                    $10.00
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         1010112021    8540 PAY EBR SHERIFF               EAST BATON ROUGE PARISH SHERIFFS NIA                 CAVALIER, CARL   Advance                    $30.00
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         1010112021    8571 EBR SHERIFF SERVICE MILEAGE   EAST BATON ROUGE PARISH SHERIFFS NIA                 CAVALIER, CARL   Advance                     $3.12
                            [802 Amt]
         1011312021    8543 SERVICE RETURN FEE            DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                     $6.00
                            STATE OF LOUISIANA:
                            DEPARTMENT OF PUBLIC SAFETY
                            AND CORRECTIONS
         1011412021    8543 SERVICE RETURN FEE            DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                     $6.00
                            LOUISIANA STATE POLICE
                            COLONEL LAMAR A DAVIS
         1012512021    4020 SUPP AMEND PETITION-CV        DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                    $26.00
                            [6 Pg]
         1012512021    8531 BLDG FUND FEE EXISTING $10    DOUG WELBORN-19TH JDC BUILDING Fl NIA                CAVALIER, CARL   Advance                    $10.00
         1012512021    5001 VERIFICATION-CV               DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                     $6.00
                            [1 Pg]
         1012512021    8531 BLDG FUND FEE EXISTING $10    DOUG WELBORN-19TH JDC BUILDING FL NIA                CAVALIER, CARL   Advance                    $10.00
         1012512021       1 ADVANCED DEPOSIT              CREDIT by CAVALIER, CARL          NIA                CAVALIER, CARL   Advance        $240.00
                            CAVALIER, CARL
         1012612021    2000 CIT-CIV                       DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                    $20.00
         1012612021    8523 CERTIFIED COPY                DOUG WELBORN SALARY FUND          N/A                CAVALIER, CARL   Advance                     $5.00
         10/2612021    8531 BLDG FUND FEE EXISTING $10    DOUG WELBORN-19TH JDC BUILDING FL NIA                CAVALIER, CARL   Advance                    $10.00
         10/26/2021   8540 PAY EBR SHERIFF                EAST BATON ROUGE PARISH SHERIFFS NIA                 CAVALIER, CARL   Advance                    $30.00
         10/2612021   8571 EBR SHERIFF SERVICE MILEAGE    EAST BATON ROUGE PARISH SHERIFFS N/A                 CAVALIER, CARL   Advance                    $10.40
E                          [806 Amt]
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u.       10/2612021   2000 CIT-CIV                        DOUG WELBORN SALARY FUND          NIA                CAVALIER, CARL   Advance                    $20.00
         10/26/2021    8523 CERTIFIED COPY                DOUG WELBORN SALARY FUND          N/A                CAVALIER, CARL   Advance                     $5.00
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      Date             Code Description                     Payee Name I Deposit Details        Attorney Name   Party Name       Balance Type   Deposit     Charge
*
      1012612021       8531 BLDG FUND FEE EXISTING $10      DOUG WELBORN-19TH JDC BUILDING Fl   NIA             CAVALIER, CARL   Advance                    $10.00
      1012612021       8540 PAY EBR SHERIFF                 EAST BATON ROUGE PARISH SHERIFFS    NIA             CAVALIER, CARL   Advance                    $30.00
      10126/2021       8571 EBR SHERIFF SERVICE MILEAGE     EAST BATON ROUGE PARISH SHERIFFS    NIA             CAVALIER, CARL   Advance                     $3.12
                            (802 Amt]
      1110412021       8543 SERVICE RETURN FEE              DOUG WELBORN SALARY FUND            NIA             CAVALIER, CARL   Advance                     $6.00
                            MAR COLLE
      11104/2021       8543 SERVICE RETURN FEE              DOUG WELBORN SALARY FUND            NIA             CAVALIER, CARL   Advance                     $6.00
                            J. RICHARDSON

      AUorney Totals
       <ATTORNEY NOT SPECIFIED>
        Advance Net Deposits                              $1,000.00
        Clerk Fees                                            $0.00
        Local Sheriff Fees                                 $147.04
         Other Sheriff Fees                                  $0.00
         Judges Supplemental Fund                           $27.00
         Advance Charges                                   $877.54
         Total Advance Balance                             $122.46
         Witness Net Deposits                                $0.00
         Witness Charges                                      $0.00
         Escrow Net Deposits                                  $0.00
         Escrow Charges                                       $0.00
         Pauper Charges                                       $0.00
         Total Witness Balance                                $0.00
         Total Escrow Balance                                 $0.00
         Total Suit+ Direct Costs                          $877.54
        Judicial Expense Fund                               $15.50
         Court Reporter Fees                                  $0.00
         Curator Fees                                         $0.00
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u.    Grand Totals
        Advance Net Deposits                              $1,000.00
                                   Case 3:21-cv-00656-JWD-RLB Document 1-2 11/10/21 Page 4 of 21
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                                                                                                            Exhibit A, in globo p. 4
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 Ill     Clerk Fees                  $0.00
 *      Local Sheriff Fees         $147.04
        Other Sheriff Fees           $0.00
 ..,0   Judges Supplemental Fund    $27.00
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        Advance Charges            $877.54
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        Total Advance Balance      $122.46
        Witness Net Deposits         $0.00
        Witness Charges              $0.00
        Escrow Net Deposits          $0.00
        Escrow Charges               $0.00
        Pauper Charges               $0.00
        Total Witness Balance        $0.00
        Total Escrow Balance         $0.00
        Total Suit+ Direct Costs   $877.54
        Judicial Expense Fund       $15.50
        Court Reporter Fees          $0.00
        Curator Fees                 $0.00




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                    Case 3:21-cv-00656-JWD-RLB                      Document 1-2        11/10/21 Page 5 of 21

EAST BATON ROUGE PARISH          C-711842
 Filed Sep 30, 2021 12:21 PM          23
    Deputy Clerk of Court




                   CARL CAVALIER                                                   19111 JUDICIAL DISTRICT COURT


                   VERSUS                                                          PARISH OF EAST BATON ROUGE


                   STATE OF LOUISIANA:                                             STATE OF LOUISIANA
                   DEPARTMENT OF PUBLIC
                   SAFETY AND CORRECTIONS: PUBLIC
                   SAFETY SERVICES; OFFICE
                   OF STATE POLICE;
                  ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                                                      PETITION
                                                                            l.
                               NOW INTO COURT IN PROPER PERSON comes Petitioner CARL CAVALIER, a
                   person of the age of majority residing in Houma, Louisiana; Parish of Terrebonne.


                                                                            2.
                               Made Defendant(s) herein Louisiana Department of Public Safety: Public Safety Services;
                   Louisiana Office of State Police, (LSP); which is justly and truly indebted unto Petitioner for all
                   sums as are reasonable under the premises, attorney's fees, litigation expenses, legal interest
                   thereon from the date of demand until paid, and all such other relief to which Petitioner is entitled
                   at law or in equity.
                                                                            3.
                               LSP is a political subdivision of the Louisiana Department of Public Safety with LSP
                   Headquarters located in Baton Rouge, Louisiana; Parish of East Baton Rouge therefore venue in
                   this court is proper.
                                                                            4.
                               Petitioner is domiciled in this State at the time of filing, therefore venue is proper.


                                                                            5.
                               Petitioner began his employment with LSP on November 30, 2014. He was assigned to
                   Troop C, located in Gray, Louisiana: Parish of Terrebonne; At all pertinent times, Petitioner was
                    an "employee" of defendant and defendant was Petitioner's "employer", employing greater than
                    I 000 individuals, all within the meaning and intent of Louisiana law.


                                                                           6.
                               On or about May 5, 2018, Petitioner began experiencing racial discrimination from his
                    chain of command, specifically from Major Frank Besson 1; Sergeant Simon Besson; Lieutenant
                    Andre Bienvenue and Lieutenant Matt Trahan;


                               After issuing a ticket to an narcotics officer with the Houma Police Department,
                    Petitioner's supervisors began subjecting all tickets and reports to additional scrutiny. Including


                    1
                        On May 5, 2018 Frank Besson was Captain of LSP: Troop C.




                                                                                                      Exhibit A, in globo p. 5
F.-om:                                                                  11/08/2021 10:42          #970      P.007 /022
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         but not limited to watching body worn camera videos not related to use of force; requesting that
         incident reports be edited and/or rewritten; receiving harsh criticism over minor issues where other
         LSP commissioned officers were not reprimanded; immediate family being harassed by LSP
         personnel for minor traffic violations.
                                                                 7.
                 On August 1, 2018 Petitioner began the Employee Grievance Process in compliance with
         LSP Policy and Procedure Order 219. On August 15, 2018 Major Frank Besson issued a written
         response to petitioner's grievance. These documents are attached to this petition and marked
         Exhibit A in globo.


                 This grievance was not addressed by LSP Command Staff and Petitioner was never given
         the opportunity to complete the grievance process in accordance with LSP Policy.


                                                           8.
                 On August 11, 2018 Petitioner was targeted and harassed by Sgt. Henry Kimble.and forced
         to write an incident report regarding his presence in New Orleans in his marked unit during day
         shift when he was assigned to night shift. This document is attached to this petition and marked
         Exhibit B.
                                                            9.
                  Between August 11, 2018 and.August 24, 2018 Petitioner was contacted by Lieutenant
         Draper Crain and Lt. Colonel Kendrick Van Buren2 and advised that he should request a transfer
         to the Bureau of Investigations, hereinafter ("BOI").


                  On August 24, 2018 Petitioner met with Major Darrin Naquin regarding possible
         resolutions to the discrimination issued presented in the employee grievance. Following this
         meeting, Petitioner requested a transfer to BOI by correspondence dated August 27, 2018. This
         document is attached to this petition and marked Exhibit C.


                  Petitioner was not allowed to complete the grievance procedure under civil service rules.


                                                            10.
                  On October 19, 2020, Petitioner submitted information to the Trooper Employee
         Assistance Program ("TEAP") in an attempt to address the racism issues he was experiencing.
         TEAP member Martin Mayon advised that TEAP members were not trained to deal with helping
         individuals with racism.


                  On November 7, 2020, Petitioner again contacted Mr. Mayon regarding the increasingly
          hostile working conditions at LSP. There was no progress with Petitioner's information.




          'In August 2018, Kendrick Van Buren was a Captain in LSP: Gaming.




                                                                                        Exhibit A, in globo p. 6
F.-om:                                                           11/08/2021 10:43             #970      P_OOB/022

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                 On January 30, 2021, Petitioner spoke with TEAP supervisor, Sgt. Christopher McClelland
         and further reiterated that he was experiencing stress and stress related issues to due work
         conditions. Sgt. McClelland further advised that TEAP wasn't able to give any assistance on
         racism or discrimination. A subsequent meeting with Sgt. McClelland on February 2, 2021 yielded
         similar results.


                 On February 5, 2021, Petitioner met with Colonel Lamar A. Davis regarding the employee
         grievance filed in 2018 and ongoing racial discrimination at LSP. Colonel Davis advised that he
         would investigate these claims. Additionally, Colonel Davis suggested that Petitioner read the
         book 'Chop Wood Carry Water: How to Fall in Love with the Process of Becoming Great' by
         Joshua Medcalf, alleging that this book might help him deal with the ongoing racism.


                                                   11.
                 On or about June 7, 2021, Petitioner was placed on forced annual leave pursuant to State
         Police Commission Rule 11.9. Petitioner was deprived of eighty (80) hours of annual leave equal
         to an amount of $28.39/hr. LSP did not give a specific reason for the forced annual leave.
         Petitioner was required to surrender all LSP issued equipment, including but not limited to
         firearms, vehicle, uniforms, commission cards, undercover materials, badges, building access
         cards, keys to LSP properties. Petitioner endured the humiliation of being escorted out of the
         building and off LSP Headquarters premises.


                 On or about June 9, 2021, Petitioner met with Byron Sam, EEO coordinator in the DPS
         Office of Legal Affairs. Following this meeting, Petitioner was instructed to go to a meeting in
         Human Resources. At this meeting Petitioner was advised that he qualified for an ADA
         accommodation for any stress related issues arising in the course and scope of his employment.
         On June 23, 2021 LTC Van Buren advises Petitioner to consider taking Family Medical Leave
         ("FMLA").
                                                         12.
                 On or about June 11, 2021, Petitioner received a phone call from Sgt. Dave Floss regarding
         a secondary employment application. These questions were directly related to allegations that
         Petitioner had authored a work of fiction wherein LSP was harshly criticized. Sgt Floss requested
         a copy of the book3.


                 Further, Lt. Draper Crain spoke with Petitioner and advised that LSP personnel had been
         cautioned to avoid any and all communication with Petitioner. This deliberate creation of hostile
         work environment adversely affected Petitioner's relationship with LSP commissioned personnel.


                                                         13.
                 On or about June 28, 2021, Petitionerreturned to active duty. He was immediately advised
         that he was now on ("FMLA") and sent back to his residence indefinitely.


         'NWB was released July 2021.




                                                                                    Exhibit A, in globo p. 7
F.-om:                                                             11/08/2021 10:44              #970     P.009/022
            Case 3:21-cv-00656-JWD-RLB              Document 1-2          11/10/21 Page 8 of 21




                                                         14.
                 On or about July 20, 2021 Petitioner was interviewed by LSP: Internal Affairs regarding a
         complaint he filed against Faye Dysart Morrison, Assistant Secretary of Legal Affairs. At the
         conclusion of the interview, LTC Van Buren gave Petitioner a hard copy of LSP Procedure Order
         901 Code of Ethics, Subsection 42 - Public Statements regarding media contact, specifically
         regarding a television interview with WBRZ Investigative Reporter Chris Nakamoto on June 28,
         2021.


                 Petitioner gave the following television and radio interviews regarding criminal conduct
         by commissioned personnel of Louisiana State Police: June 28, 2021 WBRZ with Chris
         Nakamoto; July 22, 2021 WBOK New Orleans Radio; July 25, 2021 Interview with Eugene
         Collins, President of Baton Rouge NAACP; July 28, 2021 Instagram Live interview with Dr. Jamal
         Taylor; August 18, 2021, WWL Channel 4 Interview with Mike Perlstein.


                                                         15.
                 On or about August 2, 2021, Petitioner returned to active duty at LSP. He was immediately
         involuntarily transferred from Narcotics to Gaming. This action was a constructive demotion to a
         far less desirable position than Petitioner previously occupied. Petitioner has eleven (11) years of
         law enforcement employment, but has no experience with gaming, or casino regulation.


                 Additionally, he was also given correspondence advising him that he was now on
         administrative leave pending investigation and agrun sent to his residence indefinitely.


                 On August 27, 2021, Petitioner received a letter informing him that he would be suspended
         without pay for forty (40) hours for violation of the LSP Policy on Secondary Employment and
         one hundred and sixty (160) hours for violation of the LSP Policy on Conduct Unbecoming an
         Officer. This proposed suspension will result in a loss of income in the amount of five thousand,
         six hundred and seventy-eig]lt dollars and 00/100 ($5,678.00).


                                                         16.
                 Petitioner contends that the actions directed at him constituted illegal race-based
         harassment/discrimination and were taken in retaliation /reprisal for his whistle blowing activity.


                                                         17.
                 Defendant failed to have in full force and effect an effective policy regarding illegal
         discrimination/harassment and retaliation. Petitioner's reports of such illegal conduct served as a
         trigger for the unlawful actions thereafter directed at him. Defendant failed to take any action to
         remedy the racially hostile working environment in spite of Petitioner's many complaints
         regarding the situation.
                                                         18.
                 As a result of the situation sued upon herein, Petitioner has sustained damages which
         include but are not limited to, severe and extreme emotional distress, mental anguish, humiliation




                                                                                       Exhibit A, in globo p. 8
F.-orn:                                                                  11/08/2021 10:45             #970 P.010/022

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          and embarrassment, past and future medical expenses, loss of earning capacity, loss of promotional
          opportunities, and all such other damages as will be more fully shown at trial of this matter and all
          for which Petitioner specifically sues for herein.
                                                              19.
                  At all times, Petitioner enjoyed the co-equal ability to make and enforce contracts,
          including that of employment and working in a non-racially hostile environment, within the
          meaning and intent of 42 U.S.C. 1981. Defendant's actions and deliberate inactions abridged
          Petitioner's rights pursuant to 42 U.S.C. §1981, for which defendant is liable.
                                                             20.
                  Petitioner is additionally entitled to relief pursuant to La. R.S. 23: 967, for which defendant'
          is liable.
                                                              21.
                   Petitioner has begun the process of filing with the EEOC and LCHR, but has not yet
          received his Notice of Right to Sue. Petitioner reserves his right to supplement and amend his
          claims upon receipt of same.
                                                              22.
                   Petitioner sent demand pursuant to La. R.S. 23:301, et seq. All conditions precedent to
          pursuit of his claims thereunder have been met and/or complied with.
                                                              23.
                   Petitioner is entitled to and desires an award of attorney's fees pursuant to law.
                                                              24.
                   Petitioner is entitled to and desires trial by jury of this matter.


                   WHEREFORE, Petitioner, Carl Cavalier, prays for trial by jury and after due proceedings
          are had that there by judgment herein in his favor and against defendant, State of Louisiana,
          through Department of Public Safety; Public Safety Services; Office of State Police, for all sums
          as are reasonable under the premises, attorney's fee, litigation expenses, legal interest thereon from
          the date of demand until paid, and all such other relief afforded Petitioner at law or in equity.




                                                    By: ~~~":::::...-l-4UJ.J.~'.S.....:::,.___
                                                    Carl Cavalier, in pro  person
                                                    Address: 6112 St. Pius Avenue
                                                             Baton Rouge, LA 70811
                                                    Phone: (504) 316-0351
                                                    Email: Karlcavalier@yahoo.com


          PLEASE SERVE:
          Louisiana State Police                            State of Louisiana
          Colonel Lamar A. Davis                            Through .Attorney General Jeff Landry
          7979 Independence Blvd                            1885 North 3ro Street
          Office of Legal Affairs: Suite 307                Livingston Building
          Baton Rouge, LA 70806                             Baton Rouge, LA 70802




                                                                                            Exhibit A, in globo p. 9
From:                                                                         11/08/2021 10:46               #970                 P_011/022

                   Case 3:21-cv-00656-JWD-RLB                Document 1-2         11/10/21 Page 10 of 21

EAST BATON ROUGE PARISH         C-711842
 Filed Sep 30, 202112:21 PM .        23
   Deputy Clerk of Court




                  CARL CAVALIER                                           19th JUDICIAL DISTRICT COURT


                  VERSUS                                                  PARISH OF EAST BATON ROUGE


                  STATE OF WUISIANA:                                     STATE OF LOUISIANA
                  DEPARTMENT OF PUBLIC
                  SAFETY AND CORRECTIONS: PUBLIC
                  SAFETY SERVICES; OFFICE .
                  OF STATE POLICE;
                   ******************************************************************************
                                                            VERIFICATION
                                \.
                  STATE OF LOUISIANA

                   PARISH OF EAST BATON ROUGE

                            BEFORE ME, the undersigned authority, duly commissioned and qualified, in and for

                   the above parish and state, therein, residing, personally came and appeared:

                                                           CARL CAVALIER

                   who being duly sworn, did depose and say that he is the petitioner in the above and forgoing

                   Petition and that he has read all the allegations therein and that they are true and correct to the

                   best of his knowledge, information and belief.




                            SWORN TO AND SUBSCRIBED before me, this _1_0_day of                        $..ee h.iV\k,, ,
                   2021.



                                                                                              JACOB M. LUNEAU
                                                                                              NOTARY PUBLIC ID #137858
                                                          My commission expires at            STATE OF LOUISIANA
                                                                                               MY COMMISSION IS FOi'\ tiFE



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                                                                                                 Exhibit A, in globo p. 10
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                    Case 3:21-cv-00656-JWD-RLB                             Document 1-2               11/10/21 Page 11 of 21




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                                                                        CITATION

          CARL CAVALIER
          (Plaintiff)                                                                    NUMBER C-711842 SEC. 23

          VS                                                                              I9 1h JUDICIAL DISTRICT COURT

          STATE OF LOUISIANA: DEPARTMENT OF                                               PARISH OF EAST BATON ROUGE
          PUBLIC SAFETY AND CORJ!.ECTIONS, ET
          AL                                                                              STATE OF LOUISIANA
          (Defendant)

          TO:      ST ATE OF LOUISIANA:
                   THROUGH ATTORNEY GENERAL JEFF LANDRY
                   1885 NORTH 3RD STREET
                   LIVINGSTON BUILDING
                   BATON ROUGE, LA 70802

          GREETINGS:

                  Attached to this citation is a certified copy of the petition*. The petition tells you what you are being
          sued for.
                  You must EITHER do what the petition asks OR, within fifteen (15) days after you have received
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          300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
          an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
          notice.
                  This citation was issued by the Clerk of Court for East Baton Rouge Parish on OCTOBER 1, 2021.




                                                                                                       Deputy Clerk of Court for
                                                                                                      Doug Welborn, Clerk of Court
          Requesting Attorney: CAVALIER, CARL


          *The following documents are attached:
          PETITION, VERIFICATION
                                                                   SERVICE INFORMATION:

          Received on the _ _ day of               20_ and on the _ _ _ day of _ _ _ _~20_, served on the above named party as
          follows:
          PERSONAL SERVICE: On the party herein named at _ _ _ _ _ _ _ _ _ _ _ _.

          DOMIClUAR.'\' SERVICE: On the within named                             by leaving the same at his domicile in this parish in thi: hands of
          -------~aperson of suitable age and discretion residing in the said domicile at~.--------

          SECRETARY OF ST ATE: By tendering same to the within named, by handing same t o - - - - - - - , - - -

          DUE AND DILIGENT:                  Afler diligent search and inquiry, was unable to find the within named _ _ _ _ _ _ _ _ or his domicile, or anyone
          legally authorized to represent him.

          RETURNED: Parish of East Baton Rouge, this
                                                       - - - day of      ----~
                                                                                            20_ _1.made service at the Louisiana State Office
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                                                                                                   in the parish of East Baton Rouge, by handing
          SERVICE:$_ _ __
          MILEAGE$_ _ __                                     ----,==~=---.<;a.HJ                         copy on:
                                                                            Deputy Sheriff
          TOTAL: $_ _ __                                             Parish of East Baton Rouge
                                                                                                                    OCT ! 2 2~21
                                                                           CITATION-2000




                                                                                                                         Exhibit A, in globo p. 11
F.-orn:                                                                                              11/08/2021 10:47                            #970 P.013/022
                    Case 3:21-cv-00656-JWD-RLB                               Document 1-2                  11/10/21 Page 12 of 21




      RETURN COPY
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                                                                       CITATION

      CARL CAVALIER
      (Plaintiff)                                                                         NUMBER C-711842 SEC. 23

      vs                                                                                  19th JUDICIAL DISTRICT COURT

      STATE OF LOUISIANA: DEPARTMENT OF                                                   PARISH OF EAST BATON ROUGE
      PUBLIC SAFETY AND CORRECTIONS, ET
      AL                                                                                  ST ATE OF LOUISIANA
      (Defendant)

      TO:      LOUISIANA STATE POLICE
               COLONEL LAMAR A DAVIS
               7979 INDEPENDENCE BLVD
               OFFICE OF LEGAL AFFAIRS: SUITE 307
               BATON ROUGE, LA 70806


      GREETINGS:

              Attached to this citation is a certified copy of the petition•. The petition tells you what you are being
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                                                                                                         Doug Welborn, Clerk of Court
      Requesting Attorney: CAVALIER, CARL


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      PETITION, VERIFICATION
                                                                 SERVICE INFORMATION:

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      -------~a                    person of suitable age and discretion residing in the said domicile at _ _ _ _ _~--·

      SECRETARY OF STATE:· By tendering same lo the within named, by handing same t o - - - - - - - - ·

      DUE AND DILIGENT:                After diligent search and inquiry, was unable to fmd the within named _ _ _ _ _ _~~or his domicile, or anyone
      legally authorized to reprcsen~him.                                                                               On this day
      RETURNED: Parish of East Baton Rouge, this _ _ _ day of _ _ _ _~20_ _.                                  1 made dep       tal service on the named


      SERVICE:$_ _ __
                                                                                                              _.......-
                                                                                                              law enf ement officer through
                                                                                                                     ouisiana State Police Headquarters
                                                                                                              _East Baton Rouge Parish Sheriff's (1ffic:o
      MILEAGE$_ _ __                                                      Deputy Sheriff
      TOTAL: $._ _ __                                              Parish of East Baton Rouge                                     OCT 1 2 2021
                                                                                                                 by tendering a copy of th'    ocument to
                                                                           CITA TION-2000                      O Jamie Fletcher             c. Robertson
                                                                                                               0 DaminickAbrams         D R. Langlois
                                                                                                                    DY. FREDDIE SELDERS 5568
                                                                                                                Depuly Shellll, Parish of mt llaton Rouge,, ~ouisiana



                                                                                                                                 Exhibit A, in globo p. 12
                                                                                       11/0B/2021 10:48           #970 p_Q14/022
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                         Case 3:21-cv-00656-JWD-RLB                    Document 1-2       11/10/21 Page 13 of 21

cASTBATONROUGEPARISH            C-711842
 Filed Oct 25, 202110:16 AM        23
    Deputy Clerk of Court




                 CARL CAVALIER                                                    19th JUDICIAL DISTRICT COURT


                 VERSUS                                                           PARISH OF EAST BATON ROUGE


                 STATE OF LOUISIANA:                                              STATE OF LOUISIANA
                 DEPARTMENT OF PUBLIC
                 SAFETY AND CORRECTIONS: PUBLIC
                 SAFETY SERVICES; OFFICE
                 OF STATE POLICE;
                , .••...............................•••...••••...........••••.............•.....
                                                              ,
                                                            AMENDED PETITION
                                                                          1.
                            NOW INTO.COURT IN PROPER PERSON comes Petitioner CARL CAVALIER,
                 amending paragraphs 15, 16 and 19 of the petition filed on September 30, 2021.


                                                                          2.
                            Made Defendant(s) herein Louisiana Department of Pnblic Safety: Public Safety Services;
                 Louisiana Office of State Police, (LSP); which is justly and truly indebted unto Petitioner for all
                 sums as are reasonable under the premises, attorney's fees, litigation expenses, legal interest
                 thereon from the date of demand until paid, and all such other relief to which Petitioner is entitled
                 at law or in equity.
                                                                          3.
                             LSP is a political subdivision of the Lonisiana Department of Public Safety with LSP
                  Headquarters located in Baton Rouge, Louisiana; Parish of East Baton Rouge therefore venue in
                  this court is proper.
                                                                           4.
                             Petitioner is domiciled in this State at the time of filing, therefore venue is proper.


                                                                          5.
                             Petitioner began his employment with LSP on November 30, 2014. He was assigned to
                  Troop C, located in Gray, Louisiana: Parish of Terrebonne; At all pertinent times, Petitioner was
                  an "employee" of defendant and defendant was Petitioner's "employer", employing greater than
                  1000 individuals, all within the meaning and intent of Louisiana law.


                                                                          6.
                             On or about May 5, 2018, Petitioner began experiencing racial discrimination from his
                  chain of command, specifically from Major Frank Besson1; Sergeant Simon Besson; Lieutenant
                  Andre Bienvenue and Lieutenant Matt Trahan;


                              After issuing a ticket to an narcotics officer with the Houma Police Department,
                  Petitioner's supervisors began subjecting all tickets and reports to additional scrutiny. Including


                   1
                       On May 5, 2018 Frank Besson was Captain of LSP: Troop C.




                                                                                                       Exhibit A, in globo p. 13
                                                                                  11/0B/2021 10:49        #970 p_Q15/022
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                Case 3:21-cv-00656-JWD-RLB                    Document 1-2           11/10/21 Page 14 of 21




          but not limited to watching body worn camera videos not related to use of force; requesting that
          incident reports be edited and/or rewritten; receiving harsh criticism over minor issues where other
          LSP commissioned officers were not reprimanded; immediate family being harassed by lSP
          personnel for minor traffic violations.
                                                                    7.
                    On August I, 2018 Petitioner began the Employee Grievance Process in compliance with
          LSP Policy and Procedure Order 219. On August 15, 2018 Major Frank Besson issued a written
          response to petitioner's grievance. These documents are attached to this petition and marked
          Exhibit A in globo.


                    This grievance was not addressed by LSP Command Staff and Petitioner was never given
          the opportunity to complete the grievance process in accordance with LSP Policy.


                                                              8.
                    On August 11, 2018 Petitioner was targeted and harassed by Sgt. Henry Kimble and forced
          to write an incident report regarding his presence in New Orleans in his marked unit during day
          shift when he was assigned to night shift. This document is attached to this petition and marked
          Exhibit B.
                                                               9.
                    Between August 11, 2018 and August 24, 2018 Petitioner was contacted by Lieutenant
          Draper Crain and Lt. Colonel Kendrick Van Buren2 and advised that he should request a transfer
          to the Bureau of Investigations, hereinafter ("BOI").


                     On August 24, 2018 Petitioner met with Major Darrin Naquin regarding possible
           resolutions to the discrimination issued presented in the employee grievance. Following this
           meeting, Petitioner requested a transfer to BOI by correspondence dated August 27, 2018. This
           document is attached to this petition and marked Exhibit C.


                     Petitioner was not allowed to complete the grievance procedure under civil service rules.


                                                                IO.
                     On October 19, 2020, Petitioner submitted information to the Trooper Employee
           Assistance Program ("TEAP") in an attempt to address the racism issues he was experiencing.
           TEAP member Martin Mayon advised that TEAP members were not trained to deal with helping
           individuals with racism.


                     On November 7, 2020, Petitioner again contacted Mr. Mayon regarding the increasingly
           hostile working conditions at LSP. There was no progress with Petitioner's information.




           2   In August 2018, Kendrick Van Buren was a captain in LSP: Gaming.




                                                                                                Exhibit A, in globo p. 14
F.-orn:                                                            11/0B/2021 10:50              #970 P.016/022

            Case 3:21-cv-00656-JWD-RLB              Document 1-2        11/10/21 Page 15 of 21




                  On Jannary 30, 2021, Petitioner spoke with TEAP supervisor, Sgt. Christopher McClelland
          and further reiterated that he was experiencing stress and stress related issues to due work
          conditions. Sgt. McClelland further advised that TEAP wasn't able to give any assistance on
          racism or discrimination. A subsequent meeting with Sgt. McClelland ou February 2, 2021 yielded
          similar results.


                  On February 5, 2021, Petitioner met with Colonel Lamar A. Davis regarding the employee
          grievance filed in 2018 and ongoing racial discrimination at LSP. Colonel Davis advised that he
          would investigate these claims. Additionally, Colonel Davis suggested that Petitioner read the
          book 'Chop Wood Carry Water: How to Fall in Love with the Process of Becoming Great' by
          Joshua Medcalf, alleging that this book might help him deal with the ongoing racism.


                                                     11.
                  On or about June 7, 2021, Petitioner was placed on forced annual leave pursuant to State
          Police Commission Rule 11.9. Petitioner was deprived of eighty (80) hours of annual leave equal
          to an amount of $28.39/hr. LSP did not give a specific reason for the forced annual leave.
          Petitioner was required to surrender all LSP issued equipment, including but not limited to
          firearms, vehicle, uniforms, commission cards, undercover materials, badges, building access
          cards, keys to LSP properties. Petitioner endured the humiliation of being escorted out of the
          building and off LSP Headquarters premises.


                  On or about June 9, 2021, Petitioner met with Byron Sam, EEO coordinator in the DPS
          Office of Legal Affairs. Following this meeting, Petitioner was instructed to go to a meeting in
          Human Resources. At this meeting Petitioner was advised that he qualified for an ADA
          accommodation for any stress related issues arising in the course and scope of his employment.
          On June 23, 2021 LTC Van Buren advises Petitioner to consider taking Family Medical Leave
           ("FMLA").
                                                           12.
                   On or about June 11, 2021, Petitioner received a phone call from Sgt. Dave Floss regarding
           a secondary employment application. These questions were directly related to allegations that
           Petitioner had authored a work of fiction wherein LSP was harshly criticized. Sgt. Floss requested
           a copy of the book3•


                   Further, Lt. Draper Crain spoke with Petitioner and advised that LSP personnel had been
           cautioned to avoid any and all communication with Petitioner. This deliberate creation of hostile
           work environment adversely affected Petitioner's relationship with LSP commissioned personnel.


                                                           13.
                   On or about June 28, 2021, Petitioner returned to active duty. He was innnediately advised
           that he was now on ("FMLA") and sent back to his residence indefinitely.


           ' NWB was released July 2021.




                                                                                      Exhibit A, in globo p. 15
                                                                  11/08/2021 10:51             #970      P_017/022
From:
          Case 3:21-cv-00656-JWD-RLB               Document 1-2        11/10/21 Page 16 of 21




                                                       14.
                On or about July 20, 2021 Petitioner was interviewed by LSP: Internal Affairs regarding a
        complaint he filed against Faye Dysart Morrison, Assistant Secretary of Legal Affairs. At the
        conclusion of the interview, LTC Van Buren gave Petitioner a hard copy of LSP Procedure Order
        901 Code of Ethics, Subsection 42 - Public Statements regarding media contact, specifically
        regarding a television interview with WBRZ Investigative Reporter Chris Nakamoto on June 28,
        2021.


                Petitioner gave the following television and radio interviews regarding criminal conduct
        by commissioned personnel of Louisiana State Police: June 28, 2021 WBRZ with Chris
        Nakamoto; July 22, 2021 WBOK New Orleans Radio; July 25, 2021 Interview with Eugene
        Collins, President of Baton Rouge NAACP; July 28, 2021 Instagram Live interview with Dr. Jamal
        Taylor; August 18, 2021, WWL Channel 4 Interview with Mike Perlstein.


                                                        15.
                On or about August 2, 2021, Petitioner returned to active duty at LSP. He was immediately
        involuntarily transferred from Narcotics to Gaming. This action was a constructive demotion to a
        far less desirable position than Petitioner previously occupied. Petitioner has eleven (11) years of
        law enforcement employment, but has no experience with gaming, or casino regulation.


                Additionally, he was also given correspondence advising him that he was now on
        administrative leave pending investigation and again sent to his residence indefinitely.


                On August 27, 2021, Petitioner received a letter informing him that he would be suspended
        without pay for forty (40) hours for violation of the LSP Policy on Secondary Employment and
        one hundred and sixty (160) hours for violation of the LSP Policy on Conduct Unbecoming an
        Officer. This proposed suspension will result in a loss of income in the amount of five thousand,
         six hundred and seventy-eight dollars and 00/100 ($5,678.00).


                 On or about September 28, 2021, Petitioner was denied a loan for the purchase of a home.
         The lender denied the loan specifically because LSP has constructively diminished plaintiff's
         income through multiple administrative suspensions. LSP has taken adverse employment actions
         against Plaintiff to the extent that he has been denied the economic opportunity of home ownership
         although he is still employed.


                                                         16.
                 Petitioner contends that the actions directed at him constituted illegal race-based
         harassment/discrimination and were taken in retaliation /reprisal for his whistle blowing activity.
         Petitioner's initial whistle blowing activity began September 12, 2020 with written communication
         to Louisiana State Representative Edmond Jordan regarding concerns that LSP had committed
         misconduct with the death of Ronald Greene.




                                                                                     Exhibit A, in globo p. 16
                                                                          11/0B/2021 10:52              #970 P.018/022
F.-orn:
               Case 3:21-cv-00656-JWD-RLB                 Document 1-2          11/10/21 Page 17 of 21




                                                            17.
                 Defendant failed to have in full force and effect an effective policy regarding illegal
          discrimination/harassment and retaliation. Petitioner's reports of such illegal conduct served as a
          trigger for the unlawful actions thereafter directed at him. Defendant failed to take any action to
          remedy the racially hostile working environment in spite of Petitioner's many complaints
          regarding the situation.
                                                           18.
                  As a result of the situation sued upon herein, Petitioner has sustained damages which
          include but are not limited to, severe and extreme emotional distress, mental anguish, humiliation
          and embarrassment, past and future medical expenses, loss of earning capacity, loss of promotional
          opportunities, and all such other damages as will be more fully shown at trial ofthis matter and all
          for which Petitioner specifically sues for herein.
                                                             19.
                  At all times, Petitioner enjoyed the co-equal ability to make and enforce contracts,
          including that of employment and working in a non-racially hostile environment, within the
          meaning and intent of 42 U.S.C. §1981. Defendant's actions and deliberate inactions abridged
          Petitioner's rights pursuant to 42 U.S.C. §1981, for which defendant is liable.
                  Defendant is also liable for actions against Petitioner that violate his First Amendment
          rights of free speech and free expression under42 U.S.C. §1983.
                                                             20.
                  Petitioner is additionally entitled to relief pursuant to La. R.S. 23: 967, for which defendant
          is liable.
                                                             21.
                   Petitioner has begun the process of filing with the EEOC and LCHR, but has not yet
           received his Notice of Right to Sue. Petitioner reserves his right to supplement and amend his
           claims upon receipt of same.
                                                               22.
                   Petitioner sent demand pursuant to La. R.S. 23:301, et seq. All conditions precedent to
           pursuit of his claims thereunder have been met and/or complied with.
                                                               23.
                   Petitioner is entitled to and desires an award of attorney's fees pursuant to law.
                                                               24.
                   Petitioner is entitled to and desires trial by jury of this matter.




                                                                                            Exhibit A, in globo p. 17
                                                                      11/0B/2021 10:53               #970     P_019/022
F.-orn:
            Case 3:21-cv-00656-JWD-RLB                Document 1-2         11/10/21 Page 18 of 21




                 WHEREFORE, Petitioner, Carl Cavalier, prays for trial by jury and after due proceedings
          are had that there by judgment herein in his favor and against defendant, State of Louisiana,
          through Department of Public Safety; Public Safety Services; Office of State Police, for all sums
          as are reasonable under the premises, attorney's fee, litigation expenses, legal interest thereon from
          the date of demand until paid, and all such other relief afforded Petitioner at law or in equity.


                                                 Respectfully submitted,




                                                  ";;.at(k~
                                                  Address: 6112 St. Pius Avenue
                                                           Baton Rouge, LA 70811
                                                  Phone: (504) 316-0351
                                                  Email: Karlcavalier@yahoo.com


           PLEASE SERVE:
           Louisiana State Police                         State of Louisiana
           Colonel Lamar A. Davis                         Through Attorney General Jeff Landry
           7979 Independence Blvd                         1885 North 3nt Street
           Office of Legal Affairs: Suite 307             Livingston Building
           Baton Rouge, LA 70806                          Baton Rouge, LA 70802




                                                                                          Exhibit A, in globo p. 18
                                                                            11/08/2021 10:54                     #970   P.020/022
F.-om:
                   Case 3:21-cv-00656-JWD-RLB               Document 1-2          11/10/21 Page 19 of 21

•AST BATON ROUGE PARISH       C-711842
 Filed Oct 25, 202110:16 AM      23
    Deputy Clerk of Court




               CARL CAVALIER                                          191b JUDICIAL DISTRICT COURT


                VERSUS                                                PARISH OF EAST BATON ROUGE


                STATE OF LOUISIANA:                                   STATE OF LOUISIANA
                DEPARTMENT OF PUBLIC
                SAFETY AND CORRECTIONS: PUBLIC
                SAFETY SERVICES; OFFICE
                OF STATE POLICE;
                ******************************************************************************
                                                         VERIFICATION

                STATE OF LOUISIANA

                PARISH OF EAST BATON ROUGE

                         BEFORE ME, the undersigned authority, duly commissioned and qualified, in and for

                the above parish and state, therein, residing, personally came and appeared:

                                                        CARL CAVALIBR

                who being duly sworn, did depose and say that he is the petitioner in the above and forgoing

                Petition and that he has read all the allegations therein and that they are true and correct to the




                          SWORN TO AND SUBSCRIBED befor me, this                 dJ day of 6C J~l
                 2021.


                                                        ~-1.-1L4L.~L__.:::::::iM£:1:laSA....M!;MANUS
                                                                                         NOTARY PUBLIC ID #157215
                                                                                         STATE OF LOUISIANA
                                                        My commission expires at _M_v_c_o_M_M_1s_s_1o_N_1_s_Fo_R_L_1F_E_




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                                                                                                  Exhibit A, in globo p. 19
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                    Case 3:21-cv-00656-JWD-RLB                            Document 1-2                    11/10/21 Page 20 of 21




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                                                                     CITATION

      CARL CAVALIER
      (Plaintiff}                                                                    NUMBER C-711842 SEC. 23
      vs                                                                              191h JUDICIAL DISTRICT COURT

      STATE OF LOUISIANA: DEPARTMENT OF                                              PARISH OF EAST BATON ROUGE
      PUBLIC SAFETY AND CORRECTIONS, ET ·
      AL                                                                              STATE <)F LOUISIANA
      (Defendant)

      TO:      LOUISIANA STATE POLICE COLONEL LAMAR A .DAVIS
               7979 INDEPENDENCE BLVD
               OFFICE OF LEGAL AFFAIRS: SUITE 307
               BATON ROUGE, LA 70806

      GREETINGS:

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                                                                                 be rendered against you without further
      notice.
              This citation was issued by the Clerk of Court for East Baton Rouge Parish on OCTOBER 26, 2021.




                                                                                                   Peputy Clerk of Court for
                                                                                                  Doug Welborn, Clerk of Court
      Requesting Attorney: CAVALIER, CARL
                          (504) 316-0351

      *The following documents are attached:
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                                                                                                      ;
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      -------~a person of suitable age and discretion residing in the said domicile atc_I-------~

      SECRETMY OF STATE: By tendering same to the within named, by handing same to---""----~

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                                                                                                  i             On this day
      RETURNED: ParishofEastBatonRouge,this _ _ _ dayof _ _ _ _~20;-mad'e de rtmelital service on the named
                                                                             law e· rcement officer through
                                                                                    ; Louisiana State Police Headquarters
      SERVICE:$ _ __
      MILEAGE$,_ _ __                          _ _ _ _D_ep_u_ty_S_h-er-iff_ __.;....:.East Baton Rouge Parish Sheriffs Office
      TOTAL:$ _ __                                 Parish ofEast Baton Rouge - - .            NQV Q
                                                                                                                           3 2021
                                                                        CITATION-2000          byitendering a copy of this document to                         Mo.i'Co fie:_
                                                                                            0 J~mie Fletcher                   0 C. Robert~on                   ~ C ..S o-J...
                                                                                            o Dominick Abrams                  D R. Langlois                                       ·•
                                                                                                 IDY.      FREDDIE SELDERS 5568
                                                                                             ·Oep~ty Sheriff, Parish of East Baton Rouge, Louisiana
                                                                                                  I
                                                                                                  I
                                                                                                  I




                                                                                                                           Exhibit A, in globo p. 20
F.-om:                                                                                         11/08/2021 10:56                            #970         P_022/022
                   Case 3:21-cv-00656-JWD-RLB                             Document 1-2                11/10/21 Page 21 of 21




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                                                                        CITATION

         CARL CAVALIER
         (Plaintiff)                                                                     NUMBER C-711842 SEC. 23

         vs                                                                              19th JUDICIAL DISTRICT COURT

         STATE OF LOUISIANA: DEPARTMENT OF                                               PARISH OF EAST BATON ROUGE
         PUBLIC SAFETY AND CORRECTIONS, ET
         AL                                                                              STATE OF LOUISIANA
         (Defendant)

         TO:       STATE OF LOUISIANA: DEPARTMENT OF PUBLIC SAFETY AND CORRECTIONS
                   THROUGH ATTORNEY GENERAL JEFF LANDRY
                   1885 NORTH 3RD STREET LIVINGSTON BUILDING
                   BATON ROUGE, LA 70802

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                                                                                                       Deputy Clerk of Court for
                                                                                                       Doug Welborn, Clerk of Court
         Requesting Attorney: CAVALIER, CARL
                              (504) 316-0351

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          DOMICILIARY SERVICE: On the within named                                               by leaving the same at his domicile in thi• parish in the hands of
          ------~a person of suitable age and aiscretion residing in the said domicile at_~-----~

          SECRETARY OF STATE: By tendering same to the within named, by handing same to _ _ _ _ _ _ _ _.

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                                                                                                      1made service at the Louisiana State Office
          SERVICE:$_ __                                      ----.,,o""ep-,uty=sh-,en"''ff.---·-.nm the parish f East Baton Rouge, by handing
          MILEAGE$_ __
          TOTAL:$_ __                                               Parish of East Baton Rouge

                                                                            CITATION-2000


                                                                                                         To:




                                                                                                                           Exhibit A, in globo p. 21
